W/

(Official Form 1) (12/03)

 

 

 

 

FORM Bt United Slates Bankruptcy Court —
NORTHERN _ District of CALIFORNIA Voluntary Petition

Name of Debtor (if individual, enter Last, First, Middle): Name of Joint Debtor (Spouse) (Last, First, Middle):

Frazier, Belinda G. N/A

 

All Other Names used by the Debtor in the last 6 years
(include married, maiden, and trade names):

None

All Other Names used by the Joint Debtor in the last 6 years
(include married, maiden, and trade names):
N/A

 

Last four digits of Soc. Sec. No./Complete EIN or other Tax 1.D. No. (if
more than one, state all): XXX-XX-7830

Last four digits of Soc. Sec. No./Complete EIN or other Tax !.D. No. (if more
than one, state all):

 

Street Address of Debtor (No. & Street, City, State & Zip Code):
38822 Farwell Drive 20-D
Fremont, CA 94536

Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
N/A

 

County of Residence or of the
Principal Place of Business: Alameda

County of Residence or of the
Principal Place of Business:

 

Mailing Address of Debtor (if different from street address):
N/A

Mailing Address of Joint Debtor (if different from street address):
N/A

 

 

Location of Principal Assets of Business Debtor
(if different from street address above):

N/A

 

information Regarding the De
Venue (Check any applicable box)

btor (Check the Applicable Boxes)

 

 

 

Debtor is a small business as defined in 11 U.S.C. § 101

UL

Debtor is and elects to be considered a small business
under 11 U.S.C. § 1121(e) (Optional)

Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.
LJ There is a bankruptcy case concerning d2btor's affiliate, general partner, or partnership pending in this District.
7 Type of Debtor (Check all boxes that apply) Chapter or Section of Bankruptcy Code Under Which
Individual(s) Railroad the Petition is Filed (Check one box)
CL] Corporation {__] Stockbroker
(-_] Partnership [_] commodity Broker Chapter 7 __] Chapter 11 [__] chapter 13
[_] Other [-_] Clearing Bank [__] Chapter 9 (___] Chapter 12
[ Sec. 304 - Case ancillary to foreign proceeding
Nature of Debts (Check one box) Filing Fee (Check one box)
Consumer/Non-Business ] Business
Full Filing Fee attached
Chapter 11 Small Business (Check all boxes that apply) Filing Fee to be paid in installments (Applicable to individuals only)

Must attach signed application for the court's consideration
certifying that the debtor is unable to pay fee except in installments.
Rule 1006(b). See Official Form No. 3.

 

 

 

 

 

 

 

Statistical/Administrative Information (Estiniates only) THIS SPACE IS FOR COURT USE ONLY
L_ | Debtor estimates that funds will be availz ble for distribution to unsecured creditors.
Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will
be no funds available for distribution to unsecured creditors.
. . 1-15 16-49 50-99 100-199 200-999 1000-over
Estimated Number of Creditors
Lx J {] [__} [J _. C
Estimated Assets
$0 to $50,001 to $100,001 to $500,301 to $1,000,001 to $10,000,001 to $50,000,001 to More than
1$$50,000° $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million
LC] C_] L_] [| L_] C_]
Estimated Debts —
$0 to $50,001 to $100,001 to $500,001 to $1,000,001.to $10,000,001 to $50,000,001 to More than
$50,000 $100,000 $500,000 $1 nuillion $10 million $50 million $100 million $100 million

 

81

 
FORM B1, Page 2

 

 

Location Where Filed:

Official Form 1) (12/03)
Voluntary Petition Name of Debtor(s):
Frazier, Belinda G.
(This page must be completed and filed in every case) IN/A
Prior Bankruptcy C:ase Filed Within Last 6 Years (If more than one, attach additional sheet)

Case Number: Date Filed:

 

Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)

 

 

 

Signature(s) of Debtor(s) (Indi vidual/Joint)

| declare under penalty of perjury that the iiformation provided in this

petition is true and correct.

{If petitioner is an individual whose debts are pri narily consumer debts

and has chosen to file under chapter 7] | am aware that | may proceed
under chapter 7, 11, 12 or 13 of title 14, United States Code, understand
the relief available under each such chapter, and choose to proceed

chapter of title 11, United States

x

J

  
 

Xx |
Signattre ofQebtor j YS
yer er) Belinda

Signature of Joint Debtor

 

 

Name of Debtor: Case Number: Date Filed:
District: Relationship: Judge:
Signatures
Exhibit A

(To be completed if debtor is required to file periodic reports (e.g., forms
40K and 10Q) with the Securities and Exchange Commission pursuant to
Section 13 or 15(d) of the Securities Exchange Act of 1934 and is
requesting relief under chapter 11)

[__] Exhibit A is attached and made a part of this petition.

Exhibit B
(To be completed if debtor is an individual
whose debts are primarily consumer debts)
|, the attorney for the petitioner named in the foregoing petition, declare
that | have informed the petitioner that [he or she] may proceed under
chapter 7, 11, 12, or 13 of title 11, United States Code, and have
explained the relief available under each such chapter.

 

 

 

xX
510-209-5531 Signature of Attorney for Debtor(s) Date
Telephone Number (If not represented by attorney)
on £08 Exhibit C
Does the debtor own or have possession of any property that poses or

 

 
  

aftre of ney
—
Signat =a eT
In Rro JPer

Printed Namé of Attomey{for Debigts)

 

 

is alleged to pose a threat of imminent and identifiable harm to public
public health or safety?
[~_] Yes, and Exhibit C is attached and made a part of this petition.

[x | No

Signature of Non-Attorney Petition Preparer

| certify that | am a bankruptcy petition preparer as defined in 11 U.S.C.
§ 110, that | prepared this document for compensation, and that 1 have

 

 

 

 

 

 

Telephone Number

2/4/05
Date

Firm Name ~ provided the debtor witha copy of this document.
Marcel A. Neumann
Address Printed Name of Bankruptcy Petition Preparer

XXX-XX-XXXX
Social Security Number (Required by 11 U.S.C. § 110(c).)

24301 Southland Drive 612

Address ;
Hayward, CA 94545 (782-6811)

 

Names and Social Security numbers of all other individuals who

 

Signature of Debtor (Corporation/Partnership)

| declare under penalty of perjury that the inforination provided in this
petition is true and correct, and that | have been authorized to file this
petition on behalf of the debtor.

The debtor requests relief in accordance with ihe chapter of title 11,
United States Code, specified in this petition.

 

Signature of Authorized individual

 

Printed Name of Authorized Individual

 

Title of Authorized Individual

 

Date

 

prepared or assisted in preparing this document:

  
 
  

aped this document, attach additional
Kopttate official form for each person.

LTE-

Signature of Bankruptcy Petition Preparer

2/4/05

Date
A bankruptcy petition preparer’s failure to comply with the provisions of
title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

 

 

 
United States Bankruptcy Court

NORTHERN

District of CALIFORNIA

 

Case No.

Belinda G,

Frazier,

 

Inre

(if Known)

7

Debtor

Chapter

SUMMARY OF SCHEDULES

h. Report the totals from schedules A, B, D, E,

In eac

ttached and state the number of pages i

is al

icate as to each schedule whether that schedule

Ind
F

debtor's assets. Add the amounts

les A and B to determine the total amount of the

Add the amounts from schedu
ine the total arr ount of the debtor's

ded.

and F to determ

provi

in the boxes

and J

from schedules D

ilities

tiabi

E

 

 

             

 

   

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

OQ oO 2
oO Oo 3
a . we?
A Ln og
ro) OV
oO N
« ~ ~
w co qd
x
-
oO
ee
ee
ee
a ee neers oO
= a EE
5 He: 1 Oo
a ir .
uw ”
o| 2 \o
“” E N
w = .
E = x
s| 2) .
oO) She
= see
< ee
6
Ses
oO OQ
oO oO
. . . 8
oO OQ Oo 2
oO oO o
fe) OV &
~ ~ a
e N “ x
Ww Oo
oO E
o
<
A A a
” o N ct aa a ~ 4 a qd ct ”
he 4 a
Ow : wD
ot 8
23 =
£
fo]
re
us
°
Co n wn wn a) n n n vn n n @ 2
ew Vv oO ( o Vv Oo oO oO o oO gz
E> > > > mo Po pt ral mo mH > —-2
< 5s
52
3 3 —E<
2 2 3
3 3 2 =
AY
a a Fs 9 3
5 |5,12 g -
wi | 2 =~ o
> 2 on = @ 5 2
3 $12 | epe| 2,| Z8] £8 25 | 55
a a Ee £E ao oS cw £3 <4
Ww £ 2 | 3 Be} SE} 80] 653 sa | ad
x= o a Oo 85 IG x o- 30 2oO
oO a e Oo. ro no £ >3 ” e— os
a ° o ee - oO 20 2's 5 92 S = 8 S
c o o@o oO o= = _ cz =e 3
uw O. 6 ox 2.5 22 = 5 322 a o 2 oe
3 s a Qui 32 35 oe Oo x 2 es es
5 ° @ 9 © 2 os o 2 3 es a
wi o oO =< = oO ec = 0 x oO 330 3°73
= ira a ac Ow Oona oz wD a O£ Of
<
z < a Oo a uw w oO = — 5
 

iInre Frazier, Belinda G. Case No.
Debtor (If known)

SCHEDULE A - REAL PROPERTY

Except as directed below, list all real property i which the debtor has any legal, equitable, or future interest, including all property
owned as a a co-tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds
rights and powers exercisable for the debtor's owl benefit. If the debtor is married, state whether husband, wife, or both own the
the property by placing an "H," "W," "Jor "C' in the column labeled "Husband, Wife, Joint, or Community." if the debtor holds no

interest in real property, write "None" under “Descriplion and Location of Property.”

Do not include interests in executory contracts end unexpired leases on this schedule. List them in Schedule G - Executory Contracts
and Unexpired Leases.

if any entity claims to have a lien or hold a secu ‘ed interest in any property, state the amount of the secured claim. See Schedule D. If
no entity claims to hold a secured interest in the prorerty, write "None" in the column labeled “Amount of Secured Claim."

{f the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C-
Property Claimed as Exempt.

 

 

 

 

 

 

 

 

 

 

2 . CURRENT
9 MARKET VALUE
ee eATION. oe NATURE OF DEBTOR'S | uf Z OF DEBTOR'S A SCURI OF
£2 INTEREST IN SECURED
PROPERTY INTEREST IN PROPERTY 5 E PROPERTY WITHOUT cLain
Z6 DEDUCTING ANY
. a x SECURED CLAIM ;
2 OR EXEMPTION
None
FORM B6
(12/95)
Page: l Page Total | $ 0.00
Schedule Total | $ 0.00

 
inrefFrazier, Belinda G. Case No.
Debtor (If Known)

 

SCHEDULE B - PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or
more of the categories, place an “X" in ‘he appropriate position in the column labeled "None." If additional space is needed
in any category, attach a separate sheet properly identified with the case name, case number, and the number of the category.
if the debtor is married, state whether husband, wife, or both own the property by placing an “Hr ow" oor "C" in the
column fabeled "Husband, Wife, Joint, cr Community.” If the debtor is an individual or a joint petition is filed, state the
amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory
Contracts and Unexpired Leases.

If the property is being held for the debtor by someone else, state that person's name and address under Description and

Location of Property. ”

 

CURRENT
MARKET VALUE OF
DEBTOR'S INTEREST
IN PROPERTY, WITH-
OUT DEDUCTING ANY
SECURED CLAIM
OR EXEMPTION

. DESCRIPTION AND LOCATION
| TYPE OF PROPERTY NONE: OF PROPERTY

HUSBAND, WIFE, JOINT,
OR COMMUNITY

 

01. Cash on hand. x
02. Checking, savings or other financial Depos its of money in banking. 600.00

accounts, certificates of deposit,

or shares in banks, savings and loan,
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

03. Security deposits with public utilities, x
telephone companies, landlords,
and others.

04. Household goods and furnishings, Household Goo ds. 50.00
including audio, video, and
computer equipment.

05. Books, pictures and other art Books, pictures, other 50 00:
objects, antiques, stamp, coin, .
record, tape, Sompact disc, and co 1 1 e t 1Lons.

other collections or collectibles.

06. Wearing apparel. Clothes. 100.00
07. Furs and jewelry. Jewelry . 100. 00

08. Firearms and sports, photographic,
and other hobby equipment.

09. Interests in insurance policies.
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. temize and name
each issuer.

11. Interests in IRA, ERISA, Keogh, x
or other pension or profit sharing
plans. Itemize.

12. Stock and interests in incorporated x
and unincorporated businesses.
itemize.

413. ‘Interests in partnerships or joint x
ventures. Itemize.

 

 

 

 

 

 

 

FORM B6B Page Total: | $ 900.00]

(12/95)

Page: 1
inre Frazier, Belinda G.

Debtor

Case No.

 

S;CHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

(If known) -

 

TYPE OF PROPERTY

NONE

DESCRIPTION AND LOCATION
OF PROPERTY

HUSBAND, WIFE, JOINT,
OR COMMUNITY

CURRENT
MARKET VALUE OF
DEBTOR'S INTEREST
IN PROPERTY. WITH-
OUT DEDUCTING ANY
SECURED CLAIM
OR EXEMPTION

 

14.

18.

20.

21.

23.

24,
25.
26.

27.

28.
23.
30.

31.

32.

 

Government and corporate bonds
and other negotiable and non-
negotiable instruments.

Accounts receivable.

Alimony, maintenance, support,
and property settlements to which
the debtor is or may be entitled.
Give particulars.

Other liquidated debts owing
debtor including tax refunds. Give
particulars.

Equitable or future interest, life
estates, and rights or powers exer-
cisable for the benefit of the debtor
other than those listed in Schedule
of Real Property.

Contingent and non-contingent
interests in estate of a decedent,
death benefit pian, life insurance
policy, or trust.

Other contingent and unliquidated
claims of every nature, including tax
refunds, counterclaims of the debtor,
and rights to setoff claims. Give
estimated value of each.

Patents, copyrights, and other intel-
lectual property. Give particulars.

Licenses, franchises, and other
general intangibles. Give particulars.

Automobiles, trucks, trailers, and
other vehicles and accessories.

Boats, motors, and accessories.
Aircraft and accessories.

Office equipment, furnishings, and
supplies.

Machinery, fixtures, equipment
and supplies used in business.

Inventory.
Animals.

Crop-growing or harvested.
Give particulars.

Farming equipment and
implements.

Farm supplies, chemicals,
and feed.

-Other personal property of any

kind not already listed, Itermnize.

 

~*~

NA oN OO OOK OK

NA

 

1989 Jeep Wrangler.

 

2,000.00

 

FORM
(12/95)

Page:

B6B-Cont.

5

Page Total:

Schedule Total:

$ 2,000.00

 

$ 2,900.00

 

 

 
in re

Frazier, Belinda G. Case no.

 

Debtor (If known)

SCHEDLILE C - PROPERTY CLAIMED AS EXEMPT

Debtor elects the exemptions to which debtor is entitled under:

(Check one box)

C7] 11 U.S.C. § 522 (b)(1) Exemptions provided n 11 U.S.C. § 522 (d). Note: These exemptions are available only in certain states.

DoJ 11 U.S.C. § 522 (b)(2)

Exemptions available: under applicable nonbankruptcy federal laws, state or local law where the debtor's domicile has
been located for th: 180 days immediately preceding the filing of the petition, or for a longer portion of the 180-day
period than in any other place, and the debtors interest as a tenant by the entirety or joint tenant to the extent the
interest is exempt frorn process under applicable nonbankruptcy law.

 

 

 

 

 

 

SPECIFY LAW VALUE OF CURRENT MARKET
DESCRIPTION OF PROPERTY PROVIDING EACH CLAIMED VUE OT UCTING
EXEMPTION EXEMPTION EXEMPTIONS
Deposits of money in banking.|CCP 703.140 (b)5 600.00 600.00
CCP 703.140(b)1
Household Goods. CCP 703.140 (b) 3 50.00 50.00
CCP 703.140(b)1
Books, pictures, other CCP 703.140 (b) 3 50.00 50.00
cColletions. CCP 703.140(b)1
Clothes. CCP 703.140 (b)3 100.00 100.00
ECP 703.140 (b)1 ;
Jewelry. CCP 703.140(b)4 100.00 100.00
CCP 703.140(b)1
1989 Jeep Wrangler. CCP 703.140(b)2 2,000.00 2,000.00
CCP 703.140(b)1

 

FORM B6C
(12/95)

 
Inve Frazier, Belinda G. Case No.
Debtor (If known)

 

SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address, including zip code, and account number, if any, of all entities holding claims secured by property of
the debtor as of the date of filing petitior. List creditors holding all types of secured interest such as judgment liens, garnishments,
statutory liens, mortgages, deeds of trust, and other security interests. List creditors in alphabetical order to the extent practicable. lf ail
secured creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an" X " in the column labeled “ Codebtor, " include
the entity on the appropriate schedule of creditors, and complete schedule H - Codebtors. If a joint petition is filed, state whether husband,
wife, both of them, or the marital community may be liable on each claim by placing an" H,"" W,"“ J," oF "'C," in the column labeled " Husband,
Wife, Joint or Community. "

If the claim is contingent, place an “x " in the column labeled " Contingent. " If the claim is unliquidated, place an " X “ in the column

labeled “ Untiquidated. " If the claim is disputed, place an” X " in the column labeled " Disputed. “ (You may need to place an ” X " in more than one
of these three columns.)

Report the total of all claims listed in tris schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this
total also on the Summary of Schedules.

[DX] Check this box if debtor has no creditors holdin 3 secured claims to report on this Schedule D.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE CLAIM WAS INCURRED, a AMOUNT
CREDITOR'S NAME AND xg NATURE OF LIEN, AND 5|B CLAIM UNSECURED
MAILING ADDRESS - - 2 es DESCRIPTION AND MARKET wise WITHOUT PORTION
INCLUDING ZIP CODE ulag VALUE OF PROPERTY Zig 5 VALUE OF IF ANY
8 is SUBJECT TO LIEN Z/3)%| | COLLATERAL
ro) = a)
ACCOUNT NO.
VALUE $
ACCOUNT NO.
VALUE $
ACCOUNT NO.
VALUE $
ACCOUNT NO.
VALUE $
— | Continuation sheets attached Subtotal $ 0.00 FORM B6D
. (12/95)
Schedule Total $ 0 . 0 0

 

 

 

 
inRe Frazier, Belinda G. Case No.
Debtor (If known)

 

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders
of unsecured claims entitled to priority should be listed in this schedule, In the boxes provided on the attached sheets, state the name and
mailing address, including zip code, and account number, if any, of all entities holding priority claims against the debtor or the property of
the debtor, as of the date of the filing of the petition.

If any entity other than a spouse in a joist case may be jointly liable on a claim, place an "X" in the column labeled “Codebtor," include
the entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. {f a joint petition is filed, state whether husband,
wife, both of them or the marital community inay be liable on each claim by placing an "H,” "W","J", or "C" in the column labeled “Husband,
Wife, Joint, or Community.” ,

If the claim is contingent, place an “X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
labeled "Unliquidated.” If the claim is disputed, place an “Y¥" in the column labeled "Disputed." (You may need to place an "X” in more than
one of these three columns.)

Report the total of claims listed on each sheet in the box labeled “Subtotal on each sheet. Report the total of all claims listed on this
Schedule E in the box labeled “Total on the last sheet of the completed schedule. Repeat this total also on the Summary of Schedules.

Ca Check this box if debtor has no creditors hokling unsecured priority claims to report on this Schedule E.

TY PES OF PRIORI TY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

| Extensions of credit in an involuntary case

Claims arising in the ordinary course of the debtors business or financial affairs after the commencement of the case but before the
earlier of the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(2).

C4 Wages, salaries, and commissions

Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
qualifying independent sales representatives up to $4300" per person earned within 90 days immediately preceding the filing of the
original petition, or the cessation of business, whict ever occurred first, to the extent provided in 11 U.S.C. § 507(a)(3).

[1] Contributions to employee benefit plans

Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or
the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

L_) Certain farmers and fishermen

Claims of certain farmers and fishermen, up to $4200* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(5).

LJ Deposits by individuals
Claims of individuals up to a maximum of $° ,950* for deposits for the purchase, lease, or rental of property or services for personal, family, or
household use, that were not delivered or provided 11 U.S.C. § 507(a)(6).

L_] Alimony, Maintenance, or Support

Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in 11 U.S.C. § 507(a)(7).

L Taxes and Certain Other Debts Owed to Governmental Units

Taxes, customs, duties, and penalties owing to federal, state, and local governmental units as set forth in 141 U.S.C. § 507(a)(8).

C Commitments to Maintain the Capital of an Insured Depository Institution

Claims based on commitments to the FDI3, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution.
11. U.S.C. § 507(a)(9).

* Amounts are ‘subject to adjustment on April 1, 1998, and every three years thereafter with respect to cases commenced on or after the
date of adjustment. ,

RAF ¢ continuatinn-sheets attached
Inre ELazier, Belinda G. Case No.
Debtor (If known)

 

 

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and account number, if any, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor as of the date of filing of the petition. Do not include claims listed in Schedules D and €. If all creditors will
not fit on this page, use the continuation sheet provided.

if any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeied “Codebtor,” inciude the
entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both
of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled “Husband, Wife, Joint, or
Community.”

If the claim is contingent, place and "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place a1 "X" in the column labeled “Disputed.” (You may need to place an “X" in more than one of these
three columns.)

Report total of all claims listed on this scliedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total total
on the Summary of Schedules.

(CD Check this box if debtor has no creditors holdi1g unsecured nonpriority claims to report on this Schedule F.

 

DATE CLAIM WAS INCURRED,
AND CONSIDERATION FOR CLAIM,
IF CLAIM IS SUBJECT TO
SETOFF, SO STATE

CREDITOR'S NAME AND
MAILING ADDRESS
INCLUDING ZIP CODE

AMOUNT
. - OF CLAIM

CODEDIUN
HUSBAND, WIFE, JOINT,

OR COMMUNITY
CONTINGENT
UNLIQUIDATED
DISPUTED

 

 

ACCOUNT NO.
146 First North American Nat'l. 3,801.00

D3/00.

 

Asset Acceptance
Po Box 2036
Warren, Mi 48090

 

ACCOUNT NO. oO
AQZZ5691 _— Wachovia. 10/03. oo 6,900.00

Pinnacle Credit Service
Po box 5617
Hopkin, Mn 55343

 

 

ACCOUNT NO.
RELIADJBUR 370 Ameritech Cellular Chicago. 943.00
Reliable Adj Bur D1/99.

685 Cochran St
Simi Valley,CA 93065

 

 

ACCOUNT NO.
0346505010143 Amex. 05/98. 1,598.00

American Express
Po Box 297871
Ft.-Lauderdale, Fl
33329

 

 

 

 

 

 

 

 

 

 

 

Page Total $ 13, 242.00

2 continuation sheets attached

 

FORM B6F
(12/95)

 
 

Frazier, Belinda G. Case No.
Debtor (if known)

In re

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

DATE CLAIM WAS INCURRED,
AND CONSIDERATION FOR CLAIM,
IF CLAIM IS SUBJECT TO
SETOFF, SO STATE

AMOUNT
OF CLAIM

CREDITOR'S NAME AND
MAILING ADDRESS
INCLUDING ZIP CODE

CODEBTOR
HUSBAND, WIFE, JOWT,
OR COMMUNITY
CONTINGENT
UNLIQUIDATED
DISPUTED

 

 

ACCOUNT NO.
542228347020 Chase Revolving. 02/98. 2,705.00

'|Chase
7450 Huntington Pa
Columbus, Oh 43235

 

ACCOUNT NO.
4678058542 First Card. 05/97. 5,746.00

FNB Chicago
2500 Westfield Drive
Elgin, II 60123

 

ACCOUNT NO.
4118165000417420 Rev. Credit. 08/97. 4,293.00

First Usa bank
3565 Piedmont Rd NE
Altanta, Ga 30305

 

ACCOUNT NO.
941712265190 Rev.Credit. 07/97. 9,333.00

First USA
1001 Jefferson Plaza
Wilmington, De 19701

 

ACCOUNT NO. .
4053555001648774 Rev. Credit. 02/97. 363.00

FNANB
225 Chastain Mdws Ct
Kennesaw, Ga 30144

 

 

 

 

 

 

 

 

 

 

Page Tol § 32,440.00

Sheet no. of 2 sheets attached to Schedule of

 

 

Creditors Holding Unsecured Nonpriority Claims
Belinda G.
Debtor

inre ELazier,

Case No.

 

(If known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

CREDITOR'S NAME AND
MAILING ADDRESS
INCLUDING ZIP CODE

CODEBTOR

HUSBAND, WIFE, JOINT,

OR COMMUNITY.

DATE CLAIM WAS INCURRED,
AND CONSIDERATION FOR CLAIM,
IF CLAIM IS SUBJECT TO
SETOFF, SO STATE

CONTINGENT
UNLIQUIDATED
DISPUTED

AMOUNT
OF CLAIM

 

ACCOUNT NO.
41181650041

First Usa Bank
4VPo Box 8650

Wilmington, De 19899

 

Credit.

4,293.00

 

ACCOUNT NO.
2000769367

Huntington Ntl Bank
7450 Huntington Pa
Columbus, Oh 43235

Installment. 01/98.

1,583.00

 

ACCOUNT NO.
5422283470201576

The Huntington Natl Bk
7450 Huntington Pk Dr
Columbus, oh 43235

Revolving. 02/98.

2,705.00;

 

ACCOUNT NO.

 

 

ACCOUNT NO.

 

 

 

 

 

 

 

 

 

 

Sheet no. 2 of 2 ‘sheets attached to Schedule of
Creditors Holding Unsecured Nonpriority Claims

Page Total
Schedule Total

$
$

 

8,581.00

 

 

44,263.00
 

inre Frazier, Belinda G. Case No.
Debtor

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

(If known)

Describe all executory contracts of any nature aid ail unexpired leases of real or personal property. Include any timeshare interests.

State nature of debtor's interest in contract, i.e., " Purchaser, "" Agent, ” etc. State whether debtor is the lessor or lessee of a lease.

Provide the names and complete mailing addresses of all other parties to each lease or contract described.

NOTE: A party listed on this schedule will r ot receive notice of the filing of this case unless the party is also scheduled in the

appropriate schedule of creditors.

(2X) Check this box if debtor has no executory contracts or unexpired leases.

 

DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF

NAME AND MAILING ADDRESS, INCLUDING ZIP CODE, DEBTOR'S INTEREST. STATE WHETHER LEASE IS FOR
OF OTHER PARTIES TO LEASE OF! CONTRACT NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT

NUMBER OF ANY GOVERNMENT CONTRACT

 

 

 

 

 

Form B&G
(12/95)
Inve Frazier, Belinda G. Case No.
Debtor (If known)

SCHEDULE H - CODEBTORS

 

Provide the information requested concerniny any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by
debtor in the schedules of creditors. Include a! guarantors and co-signers. In community property states, a married debtor not filling a joint case
should report the name and address of the nordebtor spouse on this schedule. Include all names used by the nondebtor spouse during the six years
immediately preceding the commencement of this case.

[X] Check this box if debtor has no codebtors.

 

NAME AND ADDRESS OF CODEBTOR NAME AND ADDRESS OF CREDITOR

 

 

 

 

Form B6H
(12/95)

Case: 05-40909 Doc#1 Filed: 03/01/05 Entered: 03/01/05 15:44:44 Page 14 of 39

 
inre Frazier, Belinda G.
Debtor

Case No.

SCHEDULE | - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

(If known)

The column labeled "Spouse" must be completed in all cases filed by joint debtors and by married debtor in a chapter 12 or 13 case whether or

not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TOTAL COMBINED MONTHLY INCOME $1092.00

 

 

 

 

 

 

 

 

 

 

 

DEBTOR’S MARITAL DEPENDENTS OF DEBTOR AND SPOUSE
STATUS NAMES AGE RELATIONSHIP
Single Cameron Barda emonths Daughter
EMPLOYMENT: DEBTOR SPOUSE
Occupation Unemplayed
Name of Employer
How long employed
Address of Employer
INCOME: (Estimate of average monthly incotne) DEBTOR SPOUSE
Current monthly gross wages, salary, and corimissions
(pro rate if not paid monthly) Ss. Q.00 $ 0,00
Estimated monthly overtime $ 0.00 $s
SUBTOTAL [ s 0.00 § 0.00 |
LESS PAYROLL DEDUCTIONS
a. Payroll taxes and social security $ 0.00 $ 0.00
b. Insurance $ a oo. § 0.00
c. Union dues $ o.00 $ 0.00
d. Other (Specify $ Qg.00 § 0.00
SUBTOTAL OF PAYROLL DEDUCTIONS $ 0.00 § QO. 00
TOTAL NET MONTHLY TAKE HC ME PAY $ og §$ Q,00
Regular income from operation of business o° profession or farm $ 0.00 $ Q. 09
(attach detailed statement)
Income from real property $ 0.00. $ 0.00
interest and dividends $ Q,00 3 O.00
Alimony, maintenance or support payments payable to the debtor for the
debtor's use or that of dependents listed above. $ 0,00 $ Q. 00
Social security or other government assistance
(Specify EDD $ 1,092.00 $§ Q00
Pension or retirement income $ Qg.aq § 0.00
Other monthly income $ g.an $ 0. 00
(Specify $ 0.00 $ Q.. 00
$ gan § 0.00
TOTAL MONTHLY INCOME $ 1,092.00 $ O00

 

 

 

(Report also on Summary of Schedules)

Describe any increase or decrease of more {han 10% in any of the above categories anticipated to occur within the year

following the filing of this document:
ine Frazier, Belinda G.
Debtor

 

(If known)

SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTORS

Compiete this schedule by estimating the «average monthly expenses of the debtor and the debtor's family. Pro rate any payments made

bi-weekly, quarterly, semi-annually, or annually to slow monthly rate.

{_] Check this box if a joint petition is filed aid debtor's spouse maintains a separate household. Complete a separate schedule of expenditures

labeled "Spouse."

Rent or home mortgage payment (include lot rentec: for mobile home)
Are real estate taxes included? Yes No
Is property insurance included? Yes No
Utilities Electricity and heating fuel

Water and sewer

Telephone

Other

 

Home Maintenance (Repairs and upkeep)
Food -
Clothing
Laundry and dry cleaning
Medical and dental expenses
Transportation (not including car payments)
Recreation, clubs and entertainment, newspapers, magazines, etc.
Charitable contributions
Insurance (not deducted from wages or included iri home mortgage payments)
Homeowner's or renter’s
Life
Health
Auto _-
Other

 

Taxes (not deducted from wages or included in home mortgage payments)
(Specify)

 

Installment payments (In chapter 12 and 13 cases, do not list payments to be included in the plan)
Auto
Other

 

Other

 

Alimony, maintenance, and support paid to others

Payments for support of additional dependents no: living at your home

Regular expenses from operation of business, profession, or farm (attach detailed statement)
Other

 

TOTAL MONTHLY EXPENSES (Reporl also on Summary of Schedules)

(FOR CHAPTER 12 AND 13 DEBTORS ONLY)

$600.00

$C
$0
$8000
$0
$0
$300.00
$5000
$4500
$ 0.00

$ 80.00

$80.00
$ QO. 00

$0
$ 0.00
$ LON
$ 60,00
$0

 

 

 

Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at some other regular

interval.

A. Total projected monthly income

B. Total projected monthly expenses

C. Excess income (A minus B)

D. Total amount to:be paid into plan each

 

(interval)
FORM B6U
(12/95)

gC
g____ O00
g_____ 0.00
gO 0

 
Official Form 6-Cent.

 

 

 

(12/03)
ince Frazier, Belinda G. Case No.
(I£ known)
Debtor ,
DECLARATION CONCERNING DEBTOR'S SCHEDULES
DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of \4

+
~ : . (Total shown on summary page plus 1.)
sheets, and that they are true and correct to the best of my knowledge, information, and

 
 

 

 

 

 

Date 02/10/05 Signature:
F Debtor
Fraz “ Belinda G.
Date Signature:
: (Joint Debtor, if any)
7 {If joint case, both spouses must sign. t

 

CERTIFICATION AND SIGNAT URE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110, that I prepared this document for compensation, and that 1 have provided the debtor
with a copy of this document.

Marcel A. Neumann XXX-XX-XXXX
Printed or Typed Name of Bankruptcy Petition Preparer Social Security No.

. (Required by 11 U.S.C. § 110(c).)
24301 Southland Drive 612

Hayward, CA 94545 (782-6811)
Address

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:

If more than ongfperson prepared thig-document, attac additional signed sheets conforming to the appropriate Official Form for each person.

x iti | Cree 02/10/05
Signature of Bankruptcy Petition Preparer Date

 

 

 

A bankruptcy petition preparer's failure to comply w.th the provisions of title 1] and the Federal Rules of Bankrupicy Procedure may result in fines or imprisonment
or both. 11 U.S.C. § 110; 18 U.S.C. § 156.

 

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP

 

 

 

I, the [:he president or other officer or an authorized agent of the corporation or a member or an authorized agent
of the partnership] of the [corporation or partnership] named as debtor in this case, declare under penalty of perjury
that I have read the foregoing summary and schedules, consisting of sheets, and that they are true and
correct to the best of my knowledge, information, and telief. (Total shown on summary page plus 1.)

Date Signature:

 

 

 

[Print or type name of individual signing on behalf of debtor.]

[An individual signing on behalf of a partnership ot corporation must indicate position or relationship to debtor.]

 

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571
FORM 7
(12/03) FORM 7. STATEMENT OF FINANCIAL AFFAIRS

UMITED STATES BANKRUPTCY COURT

NORTHERN DISTRICT OF CALIFORNIA

 

Inre’ Frazier, Belinda G. ; Case No.
(Name) Debtor

 

Cif known)

STATEMENT OF FINANCIAL AFFAIRS

This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.
An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should provide
the information requested on this statement concerning all such activities as well as the individual's personal affairs.

Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must
complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is
needed for the answer to any question, use and attach a separate sheet properly identified with the case name, case number (if known),
and the number of the question.

DEFINITIONS

"I business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
individual debtor is “in business" for ‘he purpose of this form if the debtor is or has been, within the six years immediately
preceding the filing of this bankruptcy cise, any of the following: an officer, director, managing executive, or owner of 5 percent or
more of the voting or equity securities 0.’ a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or
self-employed.

“Mmsider." The term "insider" incl ides but is not limited to: relatives of the debtor, general partners of the debtor and their
relatives; corporations of which the debtor is an officer, director, or a person in control; officers, directors, and any owner of 5 percent
or more of the voting or equity securities of a corporate debtor and their relatives: affiliates of the debtor and insiders of such affiliates,
any managing agent of the debtor. 11 U.S.C. § 101. +

 

1. Income from employment or operation of business

None State the gross amount of income the debtor has received from employment, trade, or profession, or from operation

CJ of the debtor's business from the beginning of this calendar year to the date this case was commenced, State also the gross
amounts received during the two years immediately preceding this calendar year. (A debtor that maintains, or has maintained,
financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning
and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married
debtors filing under chapter 12. or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless
the spouses are separated and 2 joint petition is not filed.)

AMOUNT SOURCE (if more than one)

$19,269.00 Employment for the year 2004
$12,846.00 2003
: . 2
2. Income other than from employment or operation of business

 

 

 

None State the amount of income received by the debtor other than from employment, trade, profession, or operation of the
C_] debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)
AMOUNT SOURCE
$2,102.00 for 2004 EDD
$1,878.00 for 2004 EDD
$1,365.00 for 2005 EDD
3. Payments to creditors
None a. __ List all payments on loans, installment purchases of goods or services, and other debts, aggregating more than $600 to
cx] any creditor, made within 90 days immediately preceding the commencement of this case. (Married debtors filing
under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed.)
NAME AND ADDRESS OF CREDITOR DATES OF AMOUNT AMOUNT
_ PAYMENTS PAID STILL OWING
None b. List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
creditors who are or were i:isiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either
or both spouses whether o; not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
NAME AND ADDRESS OF CREDITOR DATE OF ~ AMOUNT AMOUNT
AND RELATIONSHIP TO DEBTOR PAYMENT PAID STILL OWING
4. Suits and administrative proceedings, executions, garnishments and attachments
None a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
Cx | preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include

information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
and a joint petition is not filed.)

CAPTION OF SUIT COURT OR AGENCY STATUS OR
AND CASE NUMBER NATURE OF PROCEEDING AND LOCATION DISPOSITION
3

None b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one

year immediately precedir.g the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS DESCRIPTION
OF PERSON FOR WHOSE DATE OF AND VALUE OF
BENEFIT PROPERTY WAS SEIZED SEIZURE PROPERTY

 

5. Repossessions, foreclosures and returns
None List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
Cx ] of foreclosure or returnec! to the seller, within one year immediately preceding the commencement of this case.
(Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

DATE OF REPOSSESSION, DESCRIPTION
. NAME AND ADDRESS FORECLOSURE SALE, AND VALUE OF
OF CREDITOR OR SELLER TRANSFER OR RETURN PROPERTY

 

6. Assignments and receiverships
None a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
either or both spouses wh2ther or not a joint petition is filed, unless the spouses are separated and a joint petition is
not filed.) TERMS OF

NAME AND ADDRESS DATE OF ASSIGNMENT
OF ASSIGNEE ASSIGNMENT OR SETTLEMENT

 

None  b. __List all property which has been in the hands of a custodian, receiver, or a court-appointed official within one year

immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
must include informatior. concerning property of either or both spouses whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed.)

NAME AND LOCATION DESCRIPTION
NAME AND ADDRESS OF COURT DATE OF AND VALUE OF
OF CUSTODIAN CASE TITLE & NUMBER ORDER PROPERTY
 

 

7, Gifts
None List all gifts or charitable con ributions made within one year immediately preceding the commencement of this case
except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13
must include gifts or contribut.ons by either or both spouses whether or not a joint petition is filed, unless the spouses
are separated and a joint petitio is not filed.)
NAME AND ADDRESS RELATIONSHIP DESCRIPTION
OF PERSON TO DEBTOR, DATE AND VALUE
OR ORGANIZATION IF ANY OF GIFT OF GIFT
8. Losses
None List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
of this case or since the commencement of this case. (Married. debtors filing under chapter 12 or chapter 13 must
include losses by either or bota spouses whether or not a joint petition is filed, unless the spouses are separated and a
joint petition is not filed.)
DESCRIPTION DESCRIPTION OF CIRCUMSTANCES AND, IF
AND VALUE OF LOSS WAS COVERED IN WHOLE OR IN PART DATE OF
PROPERTY BY INSURANCE, GIVE PARTICULARS LOSS
9. Payments related to debt counseling or bankruptcy
None List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
[| consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy

within one year immediately p-eceding the commencement of this case.

DATE OF PAYMENT, AMOUNT OF MONEY OR
NAME AND ADDRESS NAME OF PAYOR IF DESCRIPTION AND VALUE
OF PAYEE OTHER THAN DEBTOR OF PROPERTY
Affordable Document 02/04/05 $150.00

Preparation Services
24301 Southland Dr 612
Hayward CA 94545
None

5
10. Other transfers
List all other property, other than property transferred in the ordinary course of the business or financial affairs of the
debtor, transferred either absolutely or as security within one year immediately preceding the commencement
of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

DESCRIBE PROPERTY
NAME AND ADDRESS OF TRANSFEREE, TRANSFERRED
RELATIONSHIP TO DEBTO'2 DATE AND VALUE RECEIVED

 

None

11. Closed financial accounts

List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
checking, savings, or other financial accounts, certificates of deposit, or other instruments, shares and share accounts
held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial institutions
(Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held
by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition

is not filed.)

TYPE OF ACCOUNT, LAST FOUR AMOUNT AND
NAME AND ADDRESS DIGITS OF ACCOUNT NUMBER, DATE OF SALE
OF INSTITUTION AND AMOUNT OF FINAL BALANCE OR CLOSING

 

None

12. Safe deposit boxes

List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
or chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed,
unless the spouses are separate i and a joint petition is not filed.)

NAME AND ADDRESS NAMES AND ADDRESSES DESCRIPTION DATE OF TRANSFER
OF BANK OR OF THOSE WITH ACCESS OF OR SURRENDER,
OTHER DEPOSITORY TO BOX OR DEPOSITORY CONTENTS IF ANY
6
13. Setoffs

 

 

None _List all setoffs made by any creditor, including a bank, against a debt or deposit. of the debtor within 90 days preceding
the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)
DATE OF AMOUNT OF
NAME AND ADDRESS OF CREDITOR SETOFF SETOFF
14, Property held for another person
None _List all property ownéd by another person that the debtor holds or controls. -
NAME AND ADDRESS DESCRIPTION AND VALUE
OF OWNER OF PROPERTY LOCATION OF PROPERTY
15. Prior address of debtor
None If the debtor has moved within the two years immediately preceding the commencement of this case, list all premises
| which the debtor occupied duri1g that period and vacated prior to the commencement of this case. If a joint petition is

filed, report also any separate address of either spouse.

ADDRESS NAME USED DATES OF OCCUPANCY

37507 Niles Blvd #206 Fraizer, Belinda G. 09/03-02/04
Fremont, CA 94536

602 W. 3rd #1k
Royal Oak, MI 48067 2000-2003

Case: 05-40909 Doc#1 Filed: 03/01/05 Entered: 03/01/05 15:44:44 Page 23 of 39
16. Spouses and Former Spouses

None If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,

California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the
six-year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
any former spouse who resides or resided with the debtor in the community property state.

NAME

 

17. Environmental Information.
For the purpose of this question, the following definitions apply:

"Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
releases of hazardous or toxic -substances, wastes or materia! into the air, land, soil, surface water, groundwater, or
other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
or material.

"Site" means any location. facility, or property as defined under any Environmental Law, whether or not presently
or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

“Hazardous Material" mea.is anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
material, pollutant, or contaminant or similar term under an Environmental Law

 

None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit

Lx | that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit,
the date of the notice, and, if known, the Environmental Law:
"SITE NAME NAME AND ADDRESS _ DATE OF ENVIRONMENTAL
AND ADDRESS OF GOVERNMENTAL UNIT NOTICE LAW

 

None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

SITE NAME NAME AND ADDRESS DATE OF ENVIRONMENTAL
AND ADDRESS CF GOVERNMENTAL UNIT NOTICE LAW
8

None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
respect to which the deblor is or was a party. Indicate the name and address of the governmental unit that is or
was a party to the proceeding, and the docket number

NAME AND ADDRESS STATUS OR
OF GOVERNMENTAL UNIT DOCKET NUMBER DISPOSITION

 

18. Nature, location and naine of business

None a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
ra and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
executive of a corporation, partnership, sole proprietorship, or was a self-employed professional within the six years
immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of
the voting or equity securities within the six years immediately preceding the commencement of this case.
If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the
businesses, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
percent or more of the voting or equity securities, within the six years immediately preceding the commencement
of this case.
If the debtor isa corporation, list the names, addresses, taxpayer identification numbers, nature of thebusinesses,
and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
the voting or equity securities within the six years immediately preceding the commencement of this case.

TAXPAYER BEGINNING AND ENDING
NAME LD. NO. (EIN) ADDRESS NATURE OF BUSINESS DATES

 

None b. Identify any business listed in response to subdivision a., above. that is "single asset real estate" as defined in

1LU.S.C. § 101.
NAME ADDRESS
9

The following questions are to te completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within the six years immediately preceding the commencement of this case, any of the following: an
officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, cf a partnership, a sole proprietor or otherwise self-employed.

(An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as
defined above, within the six years .mmediately preceding the commencement of this case. A debtor who has not been in
business within those six years should go directly to the signature page.)

 

19. Books, records and fir ancial statements

 

 

None a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy
case kept or supervised the keeping of the books of account and records of the debtor.

NAME AND ADDRESS DATES SERVICES RENDERED
None b. List all firms or individyals who within the two years immediately preceding the filing of this bankruptcy case have
audited the books of account and records, or prepared a financial statement of the debtor.

NAME ADDRESS DATES SERVICES RENDERED
None c. List all firms or indivicluals who at the time of the commencement of this case were in possession of the books
of account and records of the debtor. If any of the books of account and records are not available, explain.

NAME ADDRESS
10

 

 

 

None d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial
statement was issued within the two years immediately preceding the commencement of this case by the debtor.

NAME AND ADDRESS DATE ISSUED

20. Inventories
None a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of
each inventory, and the dollar amount and basis of each inventory.

DOLLAR AMOUNT OF INVENTORY

DATE OF INVENTORY INVENTORY SUPERVISOR (Specify cost, market or other basis)
None b. List the name and address of the person having possession of the records of each of the two inventories reported ina.,
above.

NAME AND ADDRESSES OF CUSTODIAN

DATE OF INVENTORY OF INVENTORY RECORDS

21. Current Partners, Officers, Directors and Shareholders
None a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
partnership.

NAME AND ADDRESS NATURE OF INTEREST PERCENTAGE OF INTEREST

Case: 05-40909 Doc#1 Filed: 03/01/05 Entered: 03/01/05 15:44:44 Page 27 of 39
tl

b. If the debtor is a corpora:ion, list all officers and directors of the corporation. and each stockholder-who directly or

 

 

 

None
indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the corporation.
NATURE AND PERCENTAGE
NAME AND ADDRESS TITLE OF STOCK OWNERSHIP
22. Former partners, officers, directors and shareholders
None a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
preceding the commence nent of this case.
NAME ADDRESS DATE OF WITHDRAWAL
None b. If the debtor is a corpora:ion, list all officers, or directors whose relationship with the corporation terminated within
one year immediately preceding the commencement of this case.
NAME AND ADDRESS , TITLE DATE OF TERMINATION
23. Withdrawals from a pa -tnership or distributions by a corporation
None If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including
compensation in any form, benuses, loans, stock redemptions, options exercised and any other perquisite during one year

immediately preceding the commencement of this case.

NAME & ADDRESS AMOUNT OF MONEY
OF RECIPIENT, DATE AND PURPOSE OR DESCRIPTION
RELATIONSHIP TO DEBTOR OF WITHDRAWAL AND VALUE OF PROPERTY
None

24, Tax Consolidation Group.

If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any
consolidated group for tax purposes of which the debtor has been a member at any time within the six-year period
immediately preceding the commencement of the case.

NAME OF PARENT CORPORATION TAXPAYER IDENTIFICATION NUMBER (EIN)

 

None

25. Pension Funds.

If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which
the debtor, as an employer, las been responsible for contributing at any time within the six-year period immediately
preceding the commencement of the case.

NAME OF PENSION FUND TAXPAYER IDENTIFICATION NUMBER (EIN)

 

ek KF OK OF

Case: 05-40909 Doc#1 Filed: 03/01/05 Entered: 03/01/05 15:44:44 Page 29 of 39
13
[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in

regoing statement of financial affairs and any
attachments thereto and that they are true and correct. .

  
 
 

Date 2/10/05 Signature
of Debtor Frazier, fBAalinda’G.

 

Date Signature
of Joint Debtor
(if any)

 

 

[If completed on behalf of a partnership cr corporation]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct to the best of my knowledge, information and belief.

Date Signature

 

 

Print Name and Title

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.}

continuation sheets attached

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. § 152 and 3571

 

CERTIFICATION. AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110, that I prepared this document for compensation,
and that I have provided the debtor with < copy of this document.

 

 

 

 

Marcel A. Neumann XXX-XX-XXXX

Printed or Typed Name of Bankruptcy Petition Prepar =r Social Security No.

24301 Southland Drive 612 (Required by 11 L1.S.C. § 110(c).)
Hayward, CA 94545 (782-6811)

Address

Names and Social Security numbers of al! other individuals who prepared or assisted in preparing this document:

 

x i : 02/10/05
Signature of Bankruptcy Petition Preparer Date

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the F ederal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both, 18 U.S.C. § 156.
Form B19
(12/03)

Form 19. CERTIFICATION AND SIGNATURE OF NON-ATTORNEY
BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

[Caption as in Form 16B.]

CERTIFICATION AND SIGNATURE OF NON-ATTORNEY
BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110, that I prepared

this document for compensation, and that I have provided the debtor with a copy of this document.

Marcel A. Neumann
Printed or Typed Name of Baakruptcy Petition Preparer

XXX-XX-XXXX
Social Security No.
(Required by 11 U.S.C. § 11C(c).) --

24301 Southland Drive 612

Hayward, CA 94545 (/82-6811)
Address

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this
document:

If more than one person frepared this document, attach additional signed sheets conforming to the
rt each person.

 
 

appropriate Official Form

X MO CEE 2/4/05

Signature of Bankruptcy Fetition Preparer Date
Marcel A. Neumann

 

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy
Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.

B19
Disclosure of Compensation - (Rev. 12/03)

2003 USBC, Central District of California

 

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

 

Attorney or Party Name, Address, and Telephone Number
In Pro Per

FOR COURT USE ONLY

 

Inre Frazier, Belinda G.

CASE NO.:

 

 

CHAPTER: 7

Debtor Address:
38822 Farwell Drive 20-D
Fremont, CA 94536

 

 

 

Debtor.

 

DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER

Under 11 U.S.C. § 110(h), | declare under penalty of perjury that | am not an attorney or employee of
an attorney, that | prepared or caused to be prepared one or more documents for filing by the above-
named debter(s) in connaction with this bankruptcy case, and that-compensation paid to me within one
year before the filing of the bankruptcy petition, or agreed to be paid to me, for services rendered on
behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For document preparation services, | have agreed to accept... ........ $ 150.00

Prior to the filing of this statement | have received. ..........---.-.-: $ 150.00

Balance Due. .....

| have prepared or caused to be prepared the following documents (itemize):
Voluntary Petition, Schedules, Statement of Financial Affairs,
Intention, Creditor Matrix.

Statement of

and provided the followirg services (itemize):

The source of the compensation paid to me was:
Lx] debtor [__] Other (specify):

The source of compenséetion to be paid to me Is:
debtor [(__] Other (specify):

The foregoing is a complete statement of any agreement or arrangement for payment to me for
preparation of the petitior: filed by the debtor(s) in this bankruptcy case.

To my knowledge no other person has prepared for compensation a document for filing in connection
with this bankruptcy case except as listed below:

XXX-XX-XXXX
Complete Social Security Number

 

Name

Marcel A. Neumann
CCD-014
Disclosure of Compensation - Page 2 - (Rev. 12/03) 2003 USBC, Central District of California

 

inre Frazier, Belinda G Case No.:

(If known)

 

 

Debtor.

 

DECLARATION OF BANKRUPTCY PETITION PREPARER

| declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge,
information, and belief.

  

XXX-XX-XXXX 2/4/05
Signature Complete Social Security Number Date

Name (Print): Marcel A. Neumann
Address: 24301 Southland Drive 612

Hayward, CA 94545 (782-6811)

 

A bankruptcy petition prepzirer's failure to comply with the provisions of title 11 and the Federal Rules of
Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.

Case: 05-40909 Doc#1 Filed: 03/01/05 Entered: 03/01/05 15:44:44 Page 33 of 39

 
UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA

Inre Frazier, Belinda G. Bankruptcy Case

)
) No.

Debtor(s) ) Chapter 7
)

 

 

 

NOTICE TO DEBTORS ABOUT
BANKRUPTCY PETITION PREPARERS

PLEASE BE AWARE THAT SPECIAL RULES APPLY TO BANKRUPTCY
PETITION PREPARERS IN THIS COURT.

Bankruptcy petition preparers are non-attorneys who are not authorized to practice law or give
legal advice. The U.S. Bankruptcy Court has issued the Bankruptcy Petition Preparer Guidelines (the
"Guidelines") to govern the work performed by bankruptcy petition preparers and the fees they may charge.

Under the Guideline, a bankruptcy petition preparer must give you a copy of this notice before
taking any money or property from you for payment and before preparing any papers for filing in the
bankruptcy court. You and the bankruptcy petition preparer must sign a copy of this Notice in the space
below, a copy must be given to you, and the original and six copies must be filed with the Bankruptcy Court.

According to the Court's Guidelines, a bankruptcy petition preparer MAY NOT:

¢ Advise you ‘whether to file bankruptcy or whether chapter 7, 11, 12 or 13 is more appropriate
for you;

7 Advise you whether your debts will be eliminated, or "discharged," in a bankruptcy case;

4 Advise you whether you will be able to keep your home after filing a bankruptcy case;

¢ Advise you as to the tax consequences of filing a bankruptcy case;

4 Advise you whether you should promise to repay, or "reaffirm," debts to creditors, or

+ Charge you more than $150 for preparing, photocopying and forwarding your bankruptcy

papers to the bankruptcy court.

Page | of 2 NDC-100
The Guidelines contain additional restrictions. A complete copy of the Guidelines is attached to this
form. YOU SHOULD READ THE GUIDELINES TO UNDERSTAND WHAT THE U.S. BANKRUPTCY
COURT REQUIRES OF BANKRUPTCY PETITION PREPARERS.

If you have any questions about bankruptcy petition preparers or believe that the Guidelines have been
violated, please call the UNITED STATES TRUSTEE at the following numbers:

SAN FRANCISCO/SANTA ROSA OFFICE 415-705-3333
OAKLAND OFFICE 510-637-3200
SAN JOSE/SALINAS OFFICE 408-535-5525

DEBTOR(S)' CERTIFICATION

I, Frazier, Belinda G._ ,and , the debtor(s) in the above-captioned _
case, have read and understand the foregoing, and have Cp copy of the Guidefines.

Dated: 02/04/05

 

 (iprature)

Frazidr, Belinda G.

 

~~ (signature)

BANKRUPTCY PETITION PREPARER'S CERTIFICATION

I, Marcel A. Nevmann , hereby certify under penalty of perjury that I am the bankruptcy
petition preparer who has assisted the debtor(s) in filing the above-captioned case. I have not charged fees in
excess of the amount allowed in Guideline | of the Guidelines, attached hereto. I have not advised the debtor(s)

concerning any of the matters referred to in Guideline 3.

 
 

Dated: 02/04/05

 

(signature)

(Original and 6 copies to be filed with the original petition,
duplicate copy to be given to the debtor(s) by bankruptcy
Petition preparer.)

Rev: 2/23/2004

Page 2 of 2
Bar No.

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA

In re Frazier, Belinda G. ) Case No.
)
)
)
)

Debtor(s)

 

CREDITOR MATRIX COVER SHEET

- I declare that the attached.Creditor Mailing Matrix, consisting of _.
% sheets, contains the correct, complete and current names and
addresses of all priority, secured and unsecured creditors listed in debtor's
filing and that this matrix conforms with the Clerk's promulgated requirements.

DATED: 02/10/05

 

 

NDC-1001

Case: 05-40909 Doc#1 Filed: 03/01/05 Entered: 03/01/05 15:44:44 Page 36 of 39
Frazier, Belinda G.
28822 Farwell Drive 20-D
Fremont, CA 94536

Asset Acceptance
?o Box 2036
Warren, Mi 48090

Pinnacle Credit Service
Po box 5617
jopkin, Mn 55343

Reliable Adj Bur
685 Cochran St
Simi Valley,CA 93065

American Express
Po Box 297871
Ft. Lauderdale, Fl 33329

Case: 05-40909 Doc#1 Filed: 03/01/05 Entered: 03/01/05 15:44:44 Page 37 of 39
Chase
7450 Huntington Pa
Columbus, Oh 43235

'NB Chicago
2500 Westfield Drive
tlgin, II 60123

First Usa bank
3565 Piedmont Rd NE
Altanta, Ga 30305

First USA
1001 Jefferson Plaza
Wilmington, De 19701

FNANB
225 Chastain Mdws Ct
Kennesaw, Ga 30144

First Usa Bank
Po Box 8650
Wilmington, De 19899

Huntington Ntl Bank
7450 Huntington Pa
Columbus, Oh 43235

Case: 05-40909 Doc#1 Filed: 03/01/05 Entered: 03/01/05 15:44:44 Page 38 of 39
The Huntington Natl Bk
7450 Huntington Pk Dr
Columbus, oh 43235

Case: 05-40909 Doc#1 Filed: 03/01/05 Entered: 03/01/05 15:44:44 Page 39 of 39
